
DAUKSCH, Judge.
This is an appeal from a sentence wherein the court did not give appellant credit for all time served awaiting sentence. When a defendant is sentenced to concurrent time for two or more convictions then the time awaiting sentencing in those cases should be credited to all sentences. Daniels v. State, 491 So.2d 543 (Fla.1986); Stevens v. State, 651 So.2d 1298 (Fla. 5th DCA 1995). The sentence in case number 95-30384 is vacated and the ease remanded for resentencing to give credit for all time served on both the felony and the misdemeanor.
SENTENCE VACATED; REMANDED.
GOSHORN and HARRIS, JJ., concur.
